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 8                                    UNITED STATES DISTRICT COURT
 9                                   CENTRAL DISTRICT OF CALIFORNIA
10
11 ~ UNITED STATES OF AMERICA,                             ~ Case Nos. 8:20-mj-00713
12                             Plaintiff,                  ~ ORDER OF DETENTION AFTER
                                                           ~ HEARING [Fed. R. Crim. P. 32.1(a)(6);18
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14
                                v.                         ~ U.S.C. § 3143(a)]

         KEVIN DANIEL CEJA-CORTES,
15
16                             Defendant.

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18              The defendant having been arrested in this District pursuant to a warrant issued by
19       the United States District Court for the Southern District of California for alleged violarions
20       ofthe terms and conditions of supervision; and
21              The Court having conducted a detenrion hearing pursuant to Federal Rule of
22       Criminal Procedure 32.1(a)(6) and 18 U.S.C.§ 3143(a),
23              The Court finds that:
24          A.(X) The defendant has not met defendant's burden of establishing by clear and
25             convincing evidence that he is not likely to flee if released under 18 U.S.C. § 3142(b)
26             or (c). This finding is based on: nature ofcurrent allegations. including allegedly admitted
27             use ofa controlled substance termination from an RRC, and changing residence without
28             noti ping probation, prior violation and criminal historX
         Case 8:20-mj-00713-DUTY Document 9 Filed 10/15/20 Page 2 of 2 Page ID #:23



     1          and
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 3 B. (X)The defendant has not met defendant's burden of establishing by clear and
 4          convincing evidence that he is not likely to pose a danger to the safety of any other
 5          person or the community if released under 18 U.S.C. § 3142(b)or (c). This finding is
 6          based on: nature ofcurrent allegations. including allegedly admitted use ofa controlled substance
 7          terminationfrom an RRC,and changing residence without noti ping probation, prior violation,
 8          and criminal history
 9             IT THEREFORE IS ORDERED that the defendant be detained pending further
10       revocation proceedings.
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12       Dated: DC~~P~ ~7, 202d
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14                                                            ~i~vvv~
                                                              JOHN D.EARLY
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                                                              United States Magistrate
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